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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )                8:15CR343
                   Plaintiff,                )
                                             )
      vs.                                    )                 ORDER
                                             )
JERELL HAYNIE,                               )
                                             )
                   Defendant.                )


      This matter is before the Court on the motion of Alan Stoler to withdraw as
counsel for Defendant Jerell Haynie. (Filing No. 499.) The Court held a hearing
on the motion on June 28, 2017. Jerell Hyanie appeared with his counsel, Alan
Stoler. The United States was represented by Assistant U.S. Attorney Matthew
Molsen. The Court determined the motion should be granted. Mr. Stoler has the
Court=s permission to withdraw and substitute counsel will be appointed for trial
purposes only. Mr. Stoler remains as Jerell Haynie=s appellate counsel.


      Donald L. Schense, 1304 Galvin Road South, Bellevue, NE 68005, (402)
291-8778, is appointed to represent Jerell Haynie for the balance of the trial
proceedings pursuant to the Criminal Justice Act.        Mr. Schense shall file his
appearance in this matter forthwith. The clerk of court shall provide a copy of this
order to Mr. Schense, Mr. Stoler and Mr. Haynie.


      Mr. Stoler shall forthwith provide Mr. Schense with the discovery materials
the government provided to Defendant Jerell Haynie and such other materials
obtained by Mr. Stoler which are material to Jerell Haynie=s defense.
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      A Pretrial Conference remains scheduled for July 21, 2017 at 9:00 a.m. before
Senior United States District Court Judge Joseph F. Bataillon. Trial of this matter
remains scheduled for August 14, 2017, at 8:30 a.m. before Judge Bataillon and a
jury, unless otherwise continued by the Court.


      IT IS SO ORDERED.


      DATED this 7th day of July, 2017.


                                            BY THE COURT:


                                            s/ Susan M. Bazis
                                            United States Magistrate Judge
